                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       at WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:13-cr-11
                                                       )
 v.                                                    )
                                                       )       MATTICE / LEE
 WILLIE CORTEZ HOCKETT                                 )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirty-four count

 Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

 containing a detectable amount of cocaine and a mixture and substance containing cocaine base

 (“crack”), both Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) &

 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

 containing a detectable amount of cocaine and a mixture and substance containing cocaine base

 (“crack”), both Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) &

 841(b)(1)(C); (4) defer a decision on whether to accept the plea agreement until sentencing; and

 (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 161]. Neither party

 filed a timely objection to the report and recommendation. After reviewing the record, the Court

 agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

 and ADOPTS the magistrate judge’s report and recommendation [Doc. 161] pursuant to 28 U.S.C.

 § 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to distribute and possess with intent to distribute a mixture and

             substance containing a detectable amount of cocaine and a mixture and substance

             containing cocaine base (“crack”), both Schedule II controlled substances, in

             violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to distribute and possess with intent to distribute

             a mixture and substance containing a detectable amount of cocaine and a mixture and

             substance containing cocaine base (“crack”), both Schedule II controlled substances,

             in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, December 16, 2013 at 2:00 p.m. [EASTERN]

             before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                         /s/Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE



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